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                                                       628
                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS

                                              SHERMAN DIVISION                        FILED
                                                                                         MAY 2 4 2024
 JLR GLOBAL LLC, et al                                                               Clerk, U.S. District Court
                                                                                     Eastern District of Texas

          Plaintiffs,
                                                           CIVIL ACTION NO.: 4:22-cv-559
 v.
                                                           JURY TRIAL DEMANDED

 PAYPAL INC.,

          Defendant.
                                                                                           DKT 30
                                             SUPERSEDING EXHIBIT I
                                    DECLARATION OF JEN IFER RYAN


STATE OF TEXAS §

                                §
COUNTY OF DALLAS §



Pursuant to 28 U.S.C. § 1743,1, Jennifer Ryan, declare from my personal knowledge that the

following facts are true:

      1. My name is Jennifer Ryan. I am over 18 years of age and reside in the State of Texas. I am a Plaintiff in

         this cause-of-action. I am representing myself Pro Se. I submit this Declaration in support of my Motion

         to Reconsider which has been filed by me before this Court. The information in this Declaration

         supports my knowledge of the facts and evidence submitted in this case and with the Motion to

         Reconsider. I have personal knowledge of the facts in this Declaration and could competently testify to

         them if I am called as a witness.




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    2. I was a PayPal customer for several years for nominal financial transactions. I trusted PayPal to protect

       my private information. I used PayPal as a convenient payment processor and I trusted PayPal to keep

       my personal financial information private from third parties.

    3. On January 21, 2021, after posting a link for a fundraiser on Twitter and raising $200, PayPal canceled

       my account via email with no explanation. I was mortified that a billion dollar company like PayPal

       would care about me personally. When I received the email that I was canceled by PayPal, I could feel

       the blood rushing out of my body, as if I were being pummeled by rocks. It is difficult to explain the fear

       and trepidation that I felt in that one moment and beyond as a result of PayPal s blatant dismissal of me.

       I feared that PayPal’s cancellation of my account would destroy the support I was receiving in the

       community from like-minded people. I feared that I would be unable to conduct business in society and

       that I would be canceled by other companies and financial institutions. I vowed to my mother, (now

       deceased), that I would not tell anyone about this cancellation. I wanted to keep it quiet, as it was

       humiliating and excruciatingly painful to be called out personally by a billion dollar corporation. I was

       very afraid of how this would impact my ability to conduct business in society and vowed not to tell a

       soul for my own safety.


   4. Unfortunately PayPal had another agenda for my personal and professional well being. PayPal took

       action to publicize the cancellation of my account, leading to my public humiliation. Within

       approximately 30 minutes after I received the email from PayPal stating that the corporation had

       canceled my account, I received an email from CNET, a mainstream media outlet that caters to the tech

       community. The CNET reporter asked me for a comment by email. PayPal had informed the media that

       PayPal had canceled me. Again, I was mortified. I couldn’t believe that the information about my

       financial relationship with PayPal, and their banishment of me, was now being distributed to the

       mainstream media.


   5. Within one hour after PayPal abruptly canceled my account, the news of my mortification was spread

      from CBS News, to all over the world. Headlines read, Real Estate Agent, Jenna Ryan, Booted from
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       PayPal. Not only was the media singling me out personally, but also my businesses and my profession.

       Over 28 news outlets reported on the cancellation of my account, including, but not limited to The New

       York Times, The Washington Post, The Daily Mail, The Daily Beast, and many others-while also

       mentioning that the terrorist threat in America was high. I am not a terrorist, however, due to the media

       coverage, I was made to seem like a horrible person. I was attacked publicly, online, offline and

       ostracized from society. I could no longer raise any money in support of my cause. I was annihilated in

       the public square, serving as an example to anyone who dares to speak freely and have differing

       opinions from PayPal. The ramifications of PayPal s actions against me were extreme. I was attacked

       mercilessly online, and I had to go into hiding in plain sight, change my name and close my business. I

       cried often and experienced the psychological effects of ostracization and public humiliation.

   6. The next day after PayPal canceled me, I was booted from many other companies, platforms online and

       financial institutions. I was booted from Facebook on 1/22/2021 (the day after PayPal’s press release

       sharing my private financial data), which had been a major source of social support, as well as income

       production for me and my businesses. I was also booted from Instagram, Zillow, NextDoor and many

       other tech companies based in Silicon Valley. I was booted from dating sites, including Hinge.com,

       Match.com and more. Every day of my life I live with the pain of being canceled from a billion dollar

       tech giant and the copycat actions of other billion dollar tech companies against me.

   7. I filed a lawsuit against PayPal presenting claims related to the sharing of my private financial

       information with the media without my permission. I never cared why PayPal canceled me-I was most

       concerned with the fact that PayPal canceled me publicly-and then told the world media that they

       canceled me. That was the crux of my issues. Being canceled for any reason by PayPal is bad enough,

       but to have said cancellation publicized all over the world was what caused all the damages to me and

       my life and my businesses. I wanted to get justice for the horrible actions taken against myself, my

       livelihood and my businesses.



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  8. Unfortunately, my attorney, Ron Burns, was forced to withdraw from my case immediately after the case

      was forced into arbitration due to the upfront fees and expenses required to arbitrate my claims. I had

      competent representation on a contingency basis when my claims were before this Court, however, I lost

      said representation shortly after my case was forced into arbitration. A few weeks or so after my claims

      were forced into arbitration, Ron Burns withdrew from representing me in the case. I was told by Burns

      that the partners at his law firm. Fresh IP, would not allow him to arbitrate the case due to the expense

      relative to arbitration. I did not have the financial resources to pay an upfront retainer which would be

      required for arbitration. So I set out to find another attorney to represent me.

   9. I diligently sought representation for the arbitration of my case, reaching out to over 30 different

      attorneys in effort to comply. After my atto ey, Ron Bums, was forced to withdraw from my case due

      to the cost of arbitration that I could not afford to pay, I contacted the following attorneys and spoke to

      the attorneys and/or their staff, and in most cases, presented them with case pleadings and met with these

       attorneys over the phone and/or in person. I have had multiple discussions with most of these attorneys

       regarding my case in the diligent attempt to secure legal counsel in a way that I could afford.

   10. Following is a list of some of the attorneys contacted by Plaintiff in effort to find representation for the

       ordered Arbitration, but who were unable to handle the case on contingency in arbitration. I spent

       months of my life in an attempt to find an attorney to represent me in arbitration-to no avail.


        T J st. of Some but Not All Attorneys Contacted by Jennifer Ryan to Handle Arbitration A ainst PayPal



            1. Tom Shaw - Phone conversations, meetings, did not agree to take my arbitration case.
            2. John Pierce - Phone conversations, gave an estimate for retainer of $350,000 and a reed to
                take my arbitration case, expressed interest in representin me on appeal if necessary.
            3. Carl Steinbeck - Several phone conversations, declined arbitration representation, agreed to
                represent me in federal jury trial and assisting on appeal if necessary.
            4. Barry Silberman - Several phone conversations, declined arbitration representation, agreed to
                assist on appeal, if necessary.
            5. Mark Grosso - Phone Consultation, Personal Meeting, Email Correspondence, currently
                representing me, declined arbitration representation.


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            6. Jules Slim - Phone conversations, email conversations, reviewed pleadings, personal meeting,
               declined arbitration representation.
            7. Harmeet Dhillon - Review of pleadings, phone consultation with staff, declined arbitration
               representation.
            8. Blake Mattingly - Review of pleadings, phone consultation, personal meeting, declined
               arbitration representation.
            9. Stuart L. Cochran - Phone consultation, In office meeting, reviewed pleadings, declined
               arbitration representation.
            10. Chris Sullivan - Phone Consultation, declined arbitration representation.
            11. Rogge Dunn Group - Discussion with Paralegal, declined arbitration representation.
            12. Brian J. Smith - Phone consultation, in office meeting, review of pleadings, declined
               arbitration representation.
            13. Lang Law Firm, PC - Conversation, declined arbitration represent tion.
            14. Josh Dixon - Email conversation, declined arbitration representation.
            15. Center for American Liberty - Review of pleadings, email conversation, phone conversation,
               declined arbitration representation.
            16. Claremont Institute - Email conversation, declined arbitration representation.
            17. Andrew S. Hicks - Phone Consultation, declined arbitration representation.
            18. Josh Bowlin - Phone Consultation declined arbitration representation.
            19. West Mermis - Phone Consultation, declined arbitration representation.
            20. Michael E. McCue - Phone Consultation, declined arbitration representation.
            21. Luke Gunnsaks - Phone Consultation, text, review of pleadings, referral to other attorneys,
               declined arbitration representation.
            22. Brett Solberg - Phone consultation , declined arbitration representation.
            23. Robert Widener - Phone consultation, review of pleadings, in person meeting, emails, declined
                arbitration representation.
            24. Marshal Hoda - Phone consultation, declined arbitration representation.
            25. Nowak & Stauch - Phone consultation, declined arbitration representation.
            26. Marc Randazza - Phone consultation, declined arbitration representation.
            27. Robert Toby - Phone consultation, declined arbitration representation.
            28. Tony McDonald - Phone consultation, declined arbitration representation.
            29. Paul Sternberg - Phone consultation, declined arbitration representation.
            30. Glenn D Tucker - Phone consultation, declined arbitration representation.
            31. Wood Edwards - Phone consultation, declined arbitration representation.
            32. Kennedy Law - Phone consultation, declined arbitration representation.
            33. Joe Sibley - Phone consultation, declined arbitration representation.
            34. Lin Wood - Text, declined arbitration representation.
            35. Libby Locke - Email & Phone consultation, declined arbitration representation.
            36. Matt Davis - Phone consultation, declined arbitration representation.




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    11. I was finally able to find an attorney who agreed to take my case. Harvard graduate and high-profile

        attorney, John Pierce agreed to represent me in the arbitration case against PayPal, but in order to do so,

        Pierce required an up front retainer fee of roughly $350,000 in order to effectively arbitrate my case.

        The minimum price estimated to handle the arbitration by an attorney willing to take my case was

        $350,000. https://www.iohnpiercelaw.com

    12. John Pierce is also considering representing me on appeal of this case before the Sth Circuit, if

       necessary. This is great news because Pierce has a sterling reputation, and is a winner of many very

       high-profile cases.

    13. Once I found an attorney who would represent me in arbitration, I applied for two litigation financing

       companies to obtain the funds ($350,000) to follow this Court s order and go to arbitration.

       Unfortunately, I was denied by both.

    14.1 reached out to non-profit organizations to assist in representing me in this case, as well as to the

       Attorney General’s Office and other government entities in effort to get relief and justice for my case. So

       far, I am still unable to get representation for arbitration against PayPal without paying $350,000 up

       front fees and costs.


    15.1 was able to start the arbitration process with the AAA, and obtained a hardship waiver of fees, but was

       unable to proceed with arbitration due to lack of representation.

    16. Unfortunately, following this Court’s Order to Arbitrate has proven impossible for me to do, and I have

       presented new evidence in my Motion to Reconsider that this order is impossible for me to fulfill.

    17. After initially being alerted by an attorney, I researched and found case law showing that if it is cost

       prohibitive to go to arbitration, then I should be able to litigate my claims in Court. I could file a Motion

       to Reconsider on the premise that it is impossible for me to arbitrate my case, therefore, I prepared my

       own Motion to Reconsider.

    18. When filing the Motion to Reconsider, I discovered that PayPal is a payment processor for this Court,

      and became alarmed at the optics of a conflict of interest that such a relationship with Defendant creates
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       with my case. I am very concerned that this Court has ongoing financial interest and business

       relationship with PayPal such that a portion of the Court s own financial standing is benefited by its

       relationship with PayPal. Furthermore, according to TechReport.com in 2023, over 70% of Americans

       use PayPal s services, and that would likely include most members of the Court and its staff (as well as

       their families, if applicable) having personal financial transactions and interests with Defendant.

       (https://techreport.com/statistics/pav al-user-statistics/)

    19. Thankfully, I am able to secure legal representation on a contingency basis if my case is allowed to

       remain in this Court and iff am allowed to present my claims in the presence of a jury. I have secured

       contingency legal counsel if I am allowed to stay in Court. There is more than one attorney willing to

       take my case if I’m allowed to litigate in Court, and others who are willing to represent me on appeal,

       however no attorneys will represent me in arbitration for less than $350,000.

   20. The unknown arbitration language that the Court decided I must fulfill has shown to be impossible to

       fulfill because I am unable to secure legal representation due to my lack of resources, and the high

       upfront costs and fees required to arbitrate. I was not aware of the arbitration agreement. I would never

       have agreed to go to arbitration if I knew that PayPal would take a personal and public vendetta against

       me to destroy my businesses, and that it would cost me $350,000 to be represented against them in

       arbitration. It is impossible for me to proceed in arbitration with my claims against PayPal.

   21.1 cannot secure an attorney to arbitrate my claims on a contingency basis.

   22.1 am unable to pay $350,000 in attorneys fees and arbitration costs. My businesses were destroyed after

       the Defendant’s actions against me, and I have been working very hard to reestablish myself financially,

       however, as of now, my savings and retirement accounts are depleted.

   23. The amount of $350,000 is an astronomical amount and completely unaffordable and unattainable for a

       consumer citizen in my position to pay for arbitration with Defendant, and if I am required to arbitrate, I

       will have no other choice but to forgo my claims due to lack of funds and resources.

   24.1 have prepared a timeline of the New Evidence that I have presented in my Motion to Reconsider:
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          2023 - 2024 New Evidence Timeline


          April 2023

              • Attorney Ron Burns withdrew from representing my case once it was referred to
                 arbitration.


          April - June 2023


             • Called hundreds of resources and attorneys requesting representation for the PayPal
                 Arbitration spending days, weeks, months trying to find adequate counsel.
              • Met with numerous attorneys over the phone and in person to discuss their
                 representation of me in the PayPal arbitration.
              • Took notes, spent hours strategizing, planning, networking, trying as hard as possible to
                 secure representation for the PayPal arbitration.
              • Sent pleadings, emails and explanations to well over 30 attorneys locally and
                 nationwide.
              • Created a marketing flier about my case and sent it to various people and legal
                 organizations, all to no avail. I could not find an attorney willing to arbitrate.


          June 2023

              • Contacted John Pierce, Attorney and was given an estimate for him to handle the
                 arbitration on contingency for $350,000.
              • Applied for financing to handle the arbitration which was denied.


          Au ust 2023

              • Ability to arbitrate became impossible.
              • Experienced extreme frustration and hopelessness.
              • Received a call from an attorney who mentioned that there are laws to protect people
                 who cannot afford arbitration.
             • Started researching the legal precedent regarding the af ordability of arbitration.
             • Started drafting the Motion to Reconsider Pro Se.
             • Started the arbitration process with the AAA - Referred to Complex Case Side of AAA.
              • Applied and received for a Hardship Waiver of fees with the AAA. (Roughly $10,000)
              • Secured an attorney, Mark Grosso, to handle my case on a contingency basis if the case
                 stays in court.




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          September 2023

              • Continued writing Motion to Reconsider Pro Se



          October 2023

              • Continued writing Motion to Reconsider Pro Se


         November 2023

              • Filed the Motion to Reconsider Arbitration Pro Se

          December 2023


              • Attorney, Ron Burns, officially removed from my case by this Court
              • Plaintiff, Jennifer Ryan, recognized by this Court as Pro Se Litigant
              • Attorney, Mark Grosso, entered as counsel of record for Business Plaintif s


          Jan - May 2024


             • Plaintiff, Jennifer Ryan, Pro Se, awaits the Judge s decision on the Motion to Reconsider
             • Plaintiff files Superseding Declaration with this Court in proper format


       Further, Declarant sayeth not.


       I declare under penalty of peijury that the foregoing is true and correct. Executed on May 24, 2024.




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                                            CERTIFICATE OF SERVICE

               The undersigned certifies that the foregoing document was filed in person on May 24, 2024,

       electronically in compliance with Local Rule CV-5. As such, the foregoing was served on all counsel of

       record who have consented to electronic service. Local Rule CV-5. Pursuant to Fed. R. Civ. P. 5 and


       Local Rule CV-5, all others not deemed to have consented to electronic service will be served with a true

       and correct copy of the foregoing by email, on this the 24th day of May, 2024.




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